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     Federal Defender
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     Assistant Federal Defender
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5
6    Attorneys for Defendant
     DAMONE DEGGINS BLOCK
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. CR. S-08-212 TLN
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   DAMONE DEGGINS BLOCK,                               RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable TROY L. NUNLEY
16
17             Defendant, DAMONE DEGGINS BLOCK by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On December 8, 2009, this Court sentenced Mr. Block to a term of 48 months as

25   to Counts 1, 34, and 35, to be served consecutively, for a total term of 144 months imprisonment;

26             3.         His total offense level was 29, his criminal history category was VI, but the

27   applicable guideline range was the statutory maximum term of 144 months;

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     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Block was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Block’s total offense level has been reduced from 29 to 27, and his amended
5    guideline range is 130 to 144 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Block’s term of imprisonment to 130 months.
8    Respectfully submitted,
9    Dated: January 30, 2015                            Dated: January 30, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           DAMONE DEGGINS BLOCK
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Block is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
21   guideline range of 130 to 144 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in December 2009 is
23   reduced to a term of 130 months.
24             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
25   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
26   reduction in sentence, and shall serve certified copies of the amended judgment on the United
27   States Bureau of Prisons and the United States Probation Office.
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1              Unless otherwise ordered, Mr. Block shall report to the United States Probation Office
2    within seventy-two hours after his release.
3    Dated: February 2, 2015
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                                                                     Troy L. Nunley
6                                                                    United States District Judge
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     Stipulation and Order Re: Sentence Reduction      3
